Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 1 of 10 PageID #: 2583


                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


JOHN DOE,                           )
                                    )
            Plaintiff,              )
                                    )
            v.                      )           Case No. 1:18-cv-3713-TWP-MJD
                                    )
INDIANA UNIVERSITY,                 )
                                    )
            Defendant.              )

                                   CASE MANAGEMENT PLAN

I.    Parties and Representatives

      A.    Plaintiff: John Doe (proceeding anonymously)
            Defendant: The Trustees of Indiana University

      B.    Plaintiff’s Counsel:

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Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 2 of 10 PageID #: 2584


II.    Jurisdiction and Statement of Claims

       A.     This Court has federal question jurisdiction over the allegations in the Complaint
              pursuant to 28 U.S.C. § 1331 because the claims involve questions arising under Title
              IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681–88. The Court also has
              supplemental jurisdiction over the remaining claims pursuant to 28 U.S.C. § 1367
              because they arise out of the same case or controversy giving rise to the federal claims.

       B.     Indiana University (“IU”) suspended John Doe (“Doe”), and IU student, for four years
              after it held him responsible for sexual assault and sexual exploitation of another IU
              student. Based on IU’s investigation, charging decisions, hearing process, panel
              decision, and appeal process, Doe claims that IU violated Title IX (under erroneous
              outcome and deliberate indifference theories) and breached its implied contract with
              Doe by not following its own policies and procedures. Specifically, Doe claims that
              gender bias tainted the entire process and that IU’s handling of Doe’s case was arbitrary
              and capricious. Doe also brings claims for negligence, negligent infliction of emotional
              distress, promissory estoppel, and unjust enrichment stemming from the same
              underlying facts.

       C.     IU denies Doe’s claims. The evidence will show that IU conducted a fair and impartial
              investigation and hearing and ultimately decided that, based on the evidence presented,
              Doe was responsible for sexual assault, sexual exploitation, and sexual harassment. As
              a result of these findings, IU suspended Doe for four years. IU’s decisions were not
              arbitrary and capricious and were not motived by Doe’s gender. In addition, the
              evidence will show that IU did not violate a single one of its policies throughout the
              investigation, hearing, and appeal.

III.   Pretrial Pleadings and Disclosures

       A.     The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
              February 11, 2019.

       B.     Plaintiff(s) shall file preliminary witness and exhibit lists on or before February 19,
              2019.

       C.     Defendant(s) shall file preliminary witness and exhibit lists on or before
              February 25, 2019.

       D.     All motions for leave to amend the pleadings and/or to join additional parties shall be
              filed on or before March 11, 2019.

       E.     Plaintiff shall serve Defendant (but not file with the Court) a statement of special
              damages, if any, and make a settlement proposal, on or before February 19, 2019.
              Defendant shall serve on the Plaintiff (but not file with the Court) a response thereto
              within 21 days after receipt of the proposal. The parties shall forward copies of their
              settlement demands and responses when made to Magistrate Judge Dinsmore at
              MJDinsmore@insd.uscourts.gov.
Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 3 of 10 PageID #: 2585


      F.   Except where governed by paragraph (G) below, expert witness disclosure deadlines
           shall conform to the following schedule: Plaintiff shall disclose the name, address, and
           vita of any expert witness, and shall serve the report required by Fed. R. Civ. P.
           26(a)(2) on or before August 30, 2019. Defendant shall disclose the name, address,
           and vita of any expert witness, and shall serve the report required by Fed. R. Civ. P.
           26(a)(2) on or before September 30, 2019.

      G.   Notwithstanding the provisions of paragraph (F), above, if a party intends to use expert
           testimony in connection with a motion for summary judgment to be filed by that party,
           such expert disclosures must be served on opposing counsel no later than 90 days
           prior to the dispositive motion deadline. If such expert disclosures are served the
           parties shall confer within 7 days to stipulate to a date for responsive disclosures (if
           any) and completion of expert discovery necessary for efficient resolution of the
           anticipated motion for summary judgment. The parties shall make good faith efforts
           to avoid requesting enlargements of the dispositive motions deadline and related
           briefing deadlines. Any proposed modifications of the CMP deadlines or briefing
           schedule must be approved by the Court.

      H.   Any party who wishes to limit or preclude expert testimony at trial shall file any such
           objections on or before January 24, 2019. Any party who wishes to preclude expert
           witness testimony at the summary judgment stage shall file any such objections with
           their responsive brief within the briefing schedule established by S.D. Ind. L.R. 56-1.

      I.   All parties shall file and serve their final witness and exhibit lists on or before
           November 8, 2019. This list should reflect the specific potential witnesses the party
           may call at trial. It is not sufficient for a party to simply incorporate by reference “any
           witness listed in discovery” or such general statements. The list of final witnesses
           shall include a brief synopsis of the expected testimony.

      J.   Any party who believes that bifurcation of discovery and/or trial is appropriate with
           respect to any issue or claim shall notify the Court as soon as practicable.

      K.   Discovery of electronically stored information (“ESI”). The parties do not anticipate a
           substantial volume of ESI beyond what has already been produced. To the extent that
           the Federal Rules of Civil Procedure, Rules 26(a)(1) or Rule 34 require the disclosure
           of documents which are stored electronically, the producing party shall, absent
           objection and/or assertion of privilege, produce such documents in either hard-copy
           (paper) form, or in *.pdf or *.tiff format. The producing party may elect to produce
           these documents on CD, DVD, or on an external hard drive with a USB connection, or
           via Taft’s Secure Send software. The producing party shall pay all expenses of
           identifying, gathering, and producing the requested documents. Metadata will
           initially not be produced, but the requesting party reserves the right to request that
           metadata be provided should it/he/she deem it relevant and appropriate. If after
           reviewing a document in its originally-produced format, the requesting party seeks to
           review any or all documents in a different format, in particular its native format (the
           “Subsequent Request”), then the requesting party shall identify those documents,
           which shall be produced in their native format unless the producing party can
           extablish good cause for not so doing.
    Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 4 of 10 PageID #: 2586



                   In the event that a document protected by the attorney-client privilege, the attorney
                   work product doctrine, or other applicable privilege or protection is unintentionally
                   produced by any party to this proceeding, the producing party may request that the
                   document be returned. In the event that such a request is made, the receiving party may
                   challenge the producing party’s assertion by filing an appropriate motion with the court
                   after first attempting to resolve the issue among the parties. Otherwise, all parties to the
                   litigation and their counsel shall promptly return all copies of the document in their
                   possession, custody, or control to the producing party and shall not retain or make any
                   copies of the document or any documents derived from such document. The producing
                   party shall promptly identify the returned document on a privilege log. The
                   unintentional disclosure of a privileged or otherwise protected document shall not
                   constitute a waiver of the privilege or protection with respect to that document or any
                   other documents involving the same or similar subject matter, unless otherwise
                   provided by law.

    IV.   Discovery 1 and Dispositive Motions

          A.       IU intends to file a motion for summary judgment on all of Doe’s claims. As an initial
                   matter, Doe’s breach of contract claim is barred by the Eleventh Amendment. In
                   addition, the evidence will show that IU did not breach its implied contract with Doe
                   and did not discriminate against Doe based on his gender. Rather, IU followed its
                   policies throughout the investigation, hearing, and appeal, and rendered a sound
                   decision supported by the evidence presented that Doe had violated several Student
                   Code provisions.

          B.       On or before August 16, 2019, and consistent with the certification provisions of Fed.
                   R. Civ. P. 11(b), the party with the burden of proof shall file a statement of the claims
                   or defenses it intends to prove at trial, stating specifically the legal theories upon
                   which the claims or defenses are based.

          C.       Dispositive motions are expected and shall be filed by September 6, 2019; non-expert
                   witness discovery and discovery relating to liability issues shall be completed by
                   August 9, 2019; all remining discovery shall be completed by January 10, 2020.

                   Absent leave of Court, and for good cause shown, all issues raised on summary
                   judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

                   If the required conference under Local Rule 37-1 does not resolve discovery issues that
                   may arise, the parties will request a telephonic status conference prior to filing any
                   disputed motion to compel or for a protective order.

    V.    Pre-Trial/Settlement Conferences

1
  The term “completed,” as used in Section IV.C, means that counsel must serve their discovery requests in sufficient time to
receive responses before this deadline. Counsel may not serve discovery requests within the 30-day period before this
deadline unless they seek leave of Court to serve a belated request and show good cause for the same. In such event, the
proposed belated discovery request shall be filed with the motion, and the opposing party will receive it with service of the
motion but need not respond to the same until such time as the Court grants the motion.
Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 5 of 10 PageID #: 2587


       At any time, any party may call the Judge's Staff to request a conference, or the Court may sua
       sponte schedule a conference at any time. The presumptive time for a settlement conference is
       no later than 30 days before the close of non-expert discovery. The parties are encouraged
       to request an earlier date if they believe the assistance of the Magistrate Judge would be
       helpful in achieving settlement. The parties recommend a settlement conference in
       August, 2019.

VI.    Trial Date

       This matter will be ready for trial in or after June, 2020. The trial is by jury and is anticipated
       to take four days.

VII.   Referral to Magistrate Judge

       A.     Case. At this time, all parties do not consent to refer this matter to the currently
              assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for all
              further proceedings including trial.

       B.     Motions. The parties may also consent to having the assigned Magistrate Judge rule on
              motions ordinarily handled by the District Judge, such as motions to dismiss, for
              summary judgment, or for remand. If all parties consent, they should file a joint
              stipulation to that effect. Partial consents are subject to the approval of the presiding
              district judge.

VIII. Required Pre-Trial Preparation

       A.     TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the parties
              shall:

              1.      File a list of trial witnesses, by name, who are actually expected to be called to
                      testify at trial. This list may not include any witnesses not on a party’s final
                      witness list filed pursuant to Section III.I.

              2.      Number in sequential order all exhibits, including graphs, charts and the like,
                      that will be used during the trial. Provide the Court with a list of these exhibits,
                      including a description of each exhibit and the identifying designation. Make
                      the original exhibits available for inspection by opposing counsel. Stipulations
                      as to the authenticity and admissibility of exhibits are encouraged to the greatest
                      extent possible.

              3.      Submit all stipulations of facts in writing to the Court. Stipulations are always
                      encouraged so that at trial, counsel can concentrate on relevant contested facts.

              4.      A party who intends to offer any depositions into evidence during the party's
                      case in chief shall prepare and file with the Court and copy to all opposing
                      parties either:

                      a.      brief written summaries of the relevant facts in the depositions that will
                              be offered. (Because such a summary will be used in lieu of the actual
Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 6 of 10 PageID #: 2588


                             deposition testimony to eliminate time reading depositions in a question
                             and answer format, this is strongly encouraged.); or

                     b.      if a summary is inappropriate, a document which lists the portions of the
                             deposition(s), including the specific page and line numbers, that will be
                             read, or, in the event of a video-taped deposition, the portions of the
                             deposition that will be played, designated specifically by counter-
                             numbers.

              5.     Provide all other parties and the Court with any trial briefs and motions in
                     limine, along with all proposed jury instructions, voir dire questions, and areas
                     of inquiry for voir dire (or, if the trial is to the Court, with proposed findings of
                     fact and conclusions of law).

              6.     Notify the Court and opposing counsel of the anticipated use of any evidence
                     presentation equipment.

      B.      ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the parties
              shall:

              1.     Notify opposing counsel in writing of any objections to the proposed exhibits. If
                     the parties desire a ruling on the objection prior to trial, a motion should be filed
                     noting the objection and a description and designation of the exhibit, the basis of
                     the objection, and the legal authorities supporting the objection.

              2.     If a party has an objection to the deposition summary or to a designated portion
                     of a deposition that will be offered at trial, or if a party intends to offer
                     additional portions at trial in response to the opponent's designation, and the
                     parties desire a ruling on the objection prior to trial, the party shall submit the
                     objections and counter summaries or designations to the Court in writing. Any
                     objections shall be made in the same manner as for proposed exhibits.
                     However, in the case of objections to video-taped depositions, the objections
                     shall be brought to the Court's immediate attention to allow adequate time for
                     editing of the deposition prior to trial.

              3.     File objections to any motions in limine, proposed instructions, and voir dire
                     questions submitted by the opposing parties.

              4.     Notify the Court and opposing counsel of requests for separation of witnesses at
                     trial.

IX.   Other Matters

      None.


              /s/ Margaret M. Christensen
              Margaret M. Christensen
Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 7 of 10 PageID #: 2589


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Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 8 of 10 PageID #: 2590



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Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 9 of 10 PageID #: 2591




  ******************************************************************************


               PARTIES APPEARED IN PERSON/BY COUNSEL ON                              FOR A
               PRETRIAL/STATUS CONFERENCE.

               APPROVED AS SUBMITTED.

       X       APPROVED AS AMENDED.

               APPROVED AS AMENDED PER SEPARATE ORDER.

               APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
               SHORTENED/LENGTHENED BY               MONTHS.


               APPROVED, BUT THE DEADLINES SET IN SECTION(S)
                            OF THE PLAN IS/ARE SHORTENED/LENGTHENED
               BY             MONTHS.


               THIS MATTER IS SET FOR TRIAL BY                 ON
                                          . FINAL PRETRIAL CONFERENCE IS
               SCHEDULED FOR                                    AT
               ROOM                 .


               A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                                AT       .M. COUNSEL SHALL APPEAR:

                                            IN PERSON IN ROOM                 ; OR

                                         BY TELEPHONE, WITH COUNSEL FOR
                            INITIATING THE CALL TO ALL OTHER PARTIES AND
                            ADDING THE COURT JUDGE AT ( _)
                                              ; OR

                                       BY TELEPHONE, WITH COUNSEL
                            CALLING THE JUDGE'S STAFF AT ( )
                                            ;


       X       DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN
               September 6, 2019; non-expert witness discovery and discovery relating to
               liability issues shall be completed by August 9, 2019.
Case 1:18-cv-03713-TWP-MJD Document 68 Filed 01/18/19 Page 10 of 10 PageID #: 2592


        Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an Order of
 the Court may result in sanctions for contempt, or as provided under Rule 16(f), to and including
 dismissal or default.

        APPROVED AND SO ORDERED AS AMENDED.




        Dated: 18 JAN 2019




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